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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------X
Piers Gardner,

                      Plaintiff,

             v.                                     05 Civ. 5193 (DAB)
                                                           ORDER
Suri Lefkowitz,

                    Defendant.
------------------------------------------X


DEBORAH A. BATTS, United States District Judge.

       Before the Court is Defendant’s September 30, 2016 Motion

to Vacate Default Judgment pursuant to Rule 60 of the Federal

Rules of Civil Procedure. (Dkt. 57.) Defendant also filed for

Rule 11 Sanctions against Plaintiff on January 12, 2017. (Dkt.

69.) For the reasons stated herein, Defendant’s Motions for

Reconsideration and Sanctions are DENIED.

  I.     BACKGROUND

  A. Factual Background

       This case arises out of a dispute over unpaid legal bills

between Piers Gardner, an English Barrister, and Surie

Lefkowitz. A detailed factual account is contained in the

February 2011 Magistrate Report and Recommendation. (Report and

Recommendation of Magistrate Judge James C. Francis IV (“R. &

R.”), dkt. 17.)
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     To summarize, Ms. Lefkowitz’s brother, Sholam Weiss, was

convicted of a crime in Florida in 1999 but absconded to

Austria. After the United States sought extradition, Mr. Weiss

moved for an Order from the European Court of Human Rights

forbidding his removal. (Decl. of Piers Gardner, Opp. to Mot. to

Vacate Default Judgment (“Gardner Decl.”), dkt. 9, ¶ 3.) When

the European Court of Human Rights denied that request, Ms.

Lefkowitz telephoned Mr. Gardner and instructed him to take

“whatever further steps were available to protect” her brother.

(Gardner Decl. ¶ 4.) Mr. Gardner advised that the only course of

action was to apply to the United Nations Human Rights Committee

for interim measures to prevent extradition, but that the

chances of success were slim. (Id. ¶ 5.) Ms. Lefkowitz told Mr.

Gardner to make such an application and expressly agreed to be

responsible for all fees. (Id. ¶ 6.) Ms. Lefkowitz reaffirmed

her agreement to retain Mr. Gardner when she met with him in

Vienna on June 5, 2002. (Id. ¶ 8.) Mr. Gardner’s initial

application was unsuccessful, and Mr. Weiss was extradited to

the United States on June 9, 2002. Nevertheless, Mr. Gardner

pursued appeals within the United Nations Human Rights Committee

through at least December 23, 2002. (Ex. D to Second Supp. Obj.

to R. & R. of Magistrate Judge on Def.’s Mot. to Vacate, dkt.

29-4 (“December 2002 Demand Letter”).)



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     Ms. Lefkowitz wired Mr. Gardner £5,259.57 on July 22, 2002.

(Gardner Decl. ¶ 10.) Mr. Gardner continued to send Ms.

Lefkowitz a series of “fee notes,” or bills, for his services

rendered. Mr. Gardner sent the fee notes by mail (and fax) to

the address Ms. Lefkowitz provided him, 1542 54th Street,

Brooklyn, New York, 11219. (Id. ¶ 2; ¶ 11–12.) When Ms.

Lefkowitz failed to pay the remaining balance of £73,618.57 (or

$115,734.88 at the applicable exchange rate), Mr. Gardner sent

Ms. Lefkowitz a demand letter. (December 2002 Demand Letter.)

Mr. Gardner then commenced the instant litigation on June 1,

2005 seeking recovery of the unpaid legal fees. (Compl.)

     Before attempting service, Mr. Gardner’s process serving

company verified with the United States Postal Service of Ms.

Lefkowitz’s address at 1542 54th Street. (Decl. of Joel Golub

(“Golub Decl.”), dkt. 7, ¶ 2.) A process server then attempted

to serve Ms. Lefkowitz personally three times at that address on

June 17, 2005, July 5, 2005, and July 6, 2005. (Ex. C to Cinque

Decl., Opp. to Mot. to Vacate Default Judgment (“Cinque Decl.”),

dkt. 5-3.) The process server also spoke with a neighbor, David

Spira, who confirmed that Ms. Lefkowitz lived at that address.

(Id.) On July 6, 2005, after personal service failed, the

process server affixed a copy of the Summons and Complaint to

the door of 1542 54th Street and also mailed a copy to that same



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address. (Id.) Ms. Lefkowitz never answered nor moved against

the Complaint.

  B. Procedural Background

     This Court granted Plaintiff’s Motion for Default Judgment

on October 21, 2005. (Dkt. 3.) On November 16, 2005, Plaintiff

registered a judgment in various counties in New York State and

obtained a lien on real property owned by Ms. Lefkowitz. (See

Opp. to Mot. to Vacate Default Judgment, dkt. 61, at 20.)

     The case lay dormant until August 23, 2010 when Ms.

Lefkowitz moved, pro se, to vacate the default judgment,

claiming she did not live at 1542 54th Street and had been

living instead at 1745 56th Street since 2002. (Notice of Mot.

to Dismiss, dkt. 4.) Ms. Lefkowitz claimed she never retained

Mr. Gardner. (She also referred to enclosed tax returns, though

she attached nothing to her petition.) (Id.) On February 15,

2011, Magistrate Judge Francis IV issued a Report and

Recommendation recommending that Defendant’s Motion to Vacate be

denied. (R. & R.)

     This Court adopted Magistrate Judge Francis’s Report and

Recommendation on March 16, 2015. (Dkt. 32.) By then, Ms.

Lefkowitz had retained counsel for the instant litigation,

Jonathan Bachrach, who filed several Objections to the Report

and Recommendation. (Dkts. 21, 22, 26, 27, 29, 30.) Several of

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these documents were either untimely or unauthorized by the

Federal Rules of Civil Procedure, and this Court consequently

disregarded them in its March 16, 2015 Opinion.

     On appeal, the Second Circuit remanded the case back to

this Court on March 21, 2016, noting “[a]t the objections stage,

Lefkowitz’s lawyer attempted to introduce new evidence and

arguments, which the district court declined to accept. Given

Lefkowitz’s pro se status before the magistrate judge, and

considering the arguments she made while proceeding pro se, the

district court exceeded the permissible bounds of its discretion

in not considering the newly submitted evidence and arguments,

even though the materials were not presented to the magistrate

judge in the first instance.” (Dkt. 38.) The Circuit instructed

this Court “to first consider the issue of whether service was

properly made. If it concludes the complaint was properly

served, the district court must determine whether Lefkowitz’s

motion to vacate was made within a reasonable time as required

by Rules 60(b)(6) and 60(c). If it was, then the court must

consider the McNulty factors for evaluating whether to vacate a

default judgment: “(1) whether the default was willful, (2)

whether the defendant demonstrates the existence of a

meritorious defense, and (3) whether, and to what extent,

vacating the default will cause the nondefaulting party



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prejudice.” (Id. (internal citation omitted).)1 Finally, the

Circuit warned Mr. Bachrach that his briefs barely comported

with the quality requirements of Federal Rule of Appellate

Procedure 28(a)(A). He was warned that future briefing of that

quality may result in discipline. (Id.)2

     Before the Court is Defendant’s renewed Motion to Vacate

Default Judgment pursuant to Rule 60 and accompanying documents

of September 30, 2016. (Dkt. 57.) The Court has read and

considered all arguments and submissions filed by Ms. Lefkowitz,

Mr. Gardner, and Plaintiff’s counsel. This includes all

documents filed from 2005–2017, including previously disregarded

documents filed as supplemental and second supplemental

objections to the Magistrate’s Report & Recommendations.3



1 Subsequent to his first appeal, Defense Counsel also filed an
interlocutory appeal for a writ of mandamus claiming that March
21, 2016 Circuit Order vacated the Default Judgment itself, not
the Rule 60(b) Motion to Vacate the Default Judgment. The
Circuit rejected this contention on September 1, 2016 as
“unreasonable interpretation of a prior summary order.” (Dkt.
50.)
2 The Circuit’s September 1, 2016 Order also noted that “Bachrach

is hereby notified that the future filing of duplicative,
vexatious, clearly meritless, or otherwise deficient papers in
this Court will likely result in his referral to this Court’s
Grievance Panel for consideration of whether disciplinary or
other corrective measures should be imposed.” (Id.)
3 On December 21, 2016, the Court ordered the Clerk of Court to

strike docket entries 54–57 because they were duplicative of
earlier entries by Mr. Bachrach. In response to Mr. Bachrach’s
letter of the same day informing the Court that he had technical
difficulties while making his filings and thus filed documents
numerous times, the Court reiterates, as it did in its December
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Additionally before the Court is Defendant’s Motion to Impose

Rule 11 Sanctions on Plaintiff Piers Gardner of January 12,

2017. (Dkts. 69, 71).

  II.   DEFAULT JUDGMENT VACATUR

     In accordance with the Circuit’s instructions, this Court

will first examine whether service was properly effected on Ms.

Lefkowitz. Next, the Court will consider whether Ms. Lefkowitz’s

Motion to Vacate was made within a reasonable time under Rule

60. Finally, the Court will consider the McNulty factors for

evaluating whether or not to vacate a default judgment.

     As explained infra, the Court finds that nail and mail

service on Ms. Lefkowitz was proper, that Ms. Lefkowitz brought

her Motion to Vacate within a reasonable time, but that an

evaluation of the McNulty default judgment factors demonstrate

that vacatur of default judgment is unwarranted.

  A. Proper Service

     1. Legal Standard

     When a defendant challenges service of process, the

plaintiff bears the burden of establishing that service was

properly effected. See Kernan v. Kurz-Hastings, Inc., 175 F.3d



21, 2016 Order, that the Court only struck duplicative entries.
To alleviate all doubt, however, the Court notes that it has
read and considered all of Mr. Bachrach’s submissions.
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236, 240 (2d Cir. 1999); Vazquez v. Parks, No.

02CIV1735(LAK)(HBP), 2003 WL 1442087, at *6 (S.D.N.Y. Feb. 4,

2003), aff’d, 101 F. App’x 365 (2d Cir. 2004). A process

server’s Affidavit creates a presumption of effective service.

Old Republic Ins. Co. V. Pac. Fin. Servs. of Am., Inc., 301 F.3d

54, 57 (2d Cir. 2002). That presumption can be rebutted by a

defendant’s sworn denial of receipt of service. Id.

     According to Rule 4(e) of the Federal Rules of Civil

Procedure, an individual may be served, among other methods,

“following state law for serving a summons in an action brought

in courts of general jurisdiction in the state where the

district court is located or where service is made[.]” Fed. R.

Civ. P. 4(e)(1). In New York, service may be accomplished by

serving the individual personally, by making substitute service

on a person of suitable age and discretion, or by serving an

agent of the individual. N.Y. C.P.L.R. § 308(1), (2), (3)

(McKinney 2017). “[W]here service under paragraphs one and two

cannot be made with due diligence, [service may be accomplished]

by affixing the summons to the door of either the actual place

of business, dwelling place or usual place of abode within the

state of the person to be served and by either mailing the

summons to such person at his or her last known residence or by

mailing the summons by first class mail to the person to be

served at his or her actual place of business.” Id. at § 308(4)
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(emphasis added). This method is commonly referred to as “nail

and mail service.”

        2. Analysis

        The origins of the phrase “dwelling house or usual place of

abode” to describe where service can be made date back to times

of Equity. Yet, despite “the length of time the language . . .

has been a part of federal practice, the decisions do not make

clear precisely what it means.” Nat’l Dev. Co. v. Triad Holding

Corp., 930 F.2d 253, 257 (2d Cir. 1991) (citing 4A C. Wright &

A. Miller, Federal Practice and Procedure § 1096, at 73 (2d ed.

1987)). Today, Courts look to whether there exist “sufficient

indicia of permanence” at a given location to make Plaintiff’s

service there reasonably calculated to provide Defendant with

actual notice of the action. Jaffe & Asher v. Van Brunt, 158

F.R.D. 278, 280 (S.D.N.Y. 1994) (citing Nat’l Dev., 930 F.2d at

257).

        Plaintiff provides a number of indicia that show that Surie

Lefkowitz resided at 1542 54th Street as her actual dwelling or

usual place of abode.

        An affidavit of service is prima facie proof of effective

service. Gore v. RBA Group, Inc., No. 03 Civ. 9442(RJS), 2009 WL

884565, at *4 (S.D.N.Y. March 27, 2009). In an affidavit,

Abraham Franco, the process server, swore that he “made prior

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diligent efforts to effect personal service upon the said

Defendant” three times in 2005. (Ex. C to Cinque Decl. at 1.)

Franco also swore that he spoke with David Spira, a neighbor at

1539 54th Street, who stated that Defendant lived there. A

neighbor’s statement that a Defendant lived at a given address

is an indication of permanence. See Allianz Ins. Co. v. Otero,

353 F.Supp.2d 415, 420 (S.D.N.Y. 2004) (finding due diligence

requirement satisfied and nail and mail service appropriate

where neighbor confirmed to process server that defendants lived

at purported address).

     Prior to attempting service, the process serving company

also confirmed with the United States Postal Service that

Lefkowitz lived at the 54th Street address. (Golub Decl. at 1.)

Likewise, Mr. Gardner claims that this is the address Lefkowitz

instructed him to send bills to, (Gardner Decl. ¶ 12), which is

supported by the copies of invoices Plaintiff provided from

2002. (See, e.g., dkt. 66-5; see also Overseas Private Inv.

Corp. v. Furman, No. 10 Civ. 7096(RJS), 2012 WL 967458, at *6

(S.D.N.Y. Mar. 14, 2012) (finding nail and mail service proper

with address that Defendant gave as billing address for

guarantee loan because “his representation in the Guaranty

constitutes prima facie evidence that this address was his

actual place of business for the purposes of this action”).)



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     Furthermore, Plaintiff demonstrates that Defendant and her

husband have a one-third ownership interest in the property (and

owned the property at the time of service). (See Ex. D to Cinque

Decl. (enclosing deed identifying Judah and Surie Lefkowitz as

owners).) Plaintiff also encloses a screenshot of address search

results for “Surie Lefkowitz” from AmericanTowns.com, with a

heading “White Pages, Yellow Pages and Public Records.” The

screenshot includes the 54th street address as one of Ms.

Lefkowitz’s registered addresses along with a telephone number.

(Ex. A to Pl.’s Response to Def.’s Obj. to the R. & R. of Mag.

Judge Francis.) Plaintiff asserts that Gardner’s attorneys

confirmed that there was still a telephone listing in Lefkowiz’s

name at that address prior to service. (Pl.’s Memo of Law at 8.)

While this unauthenticated website would normally not be the

most persuasive evidence on its own, it, coupled with the other

occurrences discussed above, give rise to the strong inference

that Surie Lefkowitz resided at 1542 54th Street, her “actual”

dwelling or “usual place of abode.” N.Y. C.P.L.R. § 308(4)

(McKinneys 2017). Thus, nail and mail service at 1542 54th

street was proper because there exist “sufficient indicia of

permanence” at that location to make Plaintiff’s service there

reasonably calculated to provide Defendant with actual notice of

the action. Cf. Jaffe & Asher, 158 F.R.D. at 280 (finding

sufficient indicia of permanence where defendant received mail

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at address, had phone line at address, and represented to

Plaintiff that it was transacting business at that address).


     3. Counterarguments

     From what the Court can discern from Defense counsel’s

long, often incoherent briefs, the thrust of Defense counsel’s

argument is that the Defendant never lived at 1542 54th street

and lived instead at 1745 56th street. (Def.’s Memo of Law at

12.) Defense counsel provides several tax forms and documents

listing the 56th street address as “proof” Defendant lived at

1745 56th Street. (Ex. B, Aff. of Surie Lefkowitz, dkt. 19.).

     However, a “person can have two or more ‘dwelling houses or

usual places of abode,’ provided each contains sufficient

indicia of permanence.” Nat’l Dev. Co., 930 F.2d at 257.

Otherwise, a “strictly literal interpretation of the rule may

thwart the purpose of Fed.R.Civ.P. 4(e)—to insure that service

is reasonably calculated to provide a defendant with actual

notice of the action.” Jaffe & Asher, 158 F.R.D. at 280. Indeed,

“the ‘permanence’ a person enjoys at one residence is not

lessened by the fact that he or she enjoys permanence

elsewhere.” See Polygram Merch., Inc. v. N.Y. Wholesale Co., No.

97 CIV 6489(HB), 2000 WL 23287, at *2 (S.D.N.Y. Jan. 13, 2000),

aff’d sub nom. Polygram Merch., Inc. v. Wu-Wear, Inc., 242 F.3d

367 (2d Cir. 2000); 131 Main St. Assocs. v. Manko, 897 F.Supp.

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1507, 1524 (S.D.N.Y. 1995).4 That is why, in a similar dispute

over unpaid legal fees and challenge of effective service, then-

District Judge Sotomayor rejected Defendant’s argument that he

could only have one place of abode because his tax returns

listed an alternative address. See Jaffe & Asher, 158 F.R.D. at

279. Similarly, the tax returns provided by Ms. Lefkowitz

showing an alternate address do not discredit the finding that

she still “enjoyed permanence elsewhere,” i.e. – at 1542 54th

street.

     Ms. Lefkowitz does attest that “[p]rior to and in 2005, we

rented out our premises 1542 54th Street, Brooklyn, New York to

tenants, as proven by the attached IRS Form 1040 - Schedule E -

Income from Real Estate Rental document proves.” (Decl. of Surie

Lefkowitz, dkt. 54-2 ¶ 42.)5 However, Defendant Lefkowitz has not

provided to the Court any signed leases or affidavits of former

tenants to support her contention that 1542 54th Street was

being leased out at the exact time service was effectuated. In

Polygram Merchandising, a Defendant claimed she was renting out

the property where plaintiff served her by nail and mail

service. 2000 WL 23287 at *2. The Court admonished defendant for


4 The Court also notes that service may be effective “even where
it is undisputed that defendant was not staying at the address
where service was attempted, at the time service was made.”
Polygram Merchandising, 2000 WL 23287 at *2.
5 Schedule E, Ex. F to Lefkowitz Decl., dkt 19 at 53, only refers

generally to rental income.
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providing leases to the Court that “were unsigned, incomplete

documents . . . [that] of course were unaccompanied by any

affidavit from the alleged tenants.” Id. at *3. “Such evidence

fails to provide any assurance that these properties were in

fact being leased . . . .” Id. The Court also noted that the

Defendant presumably returned to the rented address at some

point to maintain it, because “[a]t no time has [defendant] ever

asserted that she left that residence permanently and without

the intent to return.” Id. In a similar vein, Ms. Lefkowitz has

not provided any signed leases or affidavits of former tenants,

nor has she ever asserted that she has left the 54th street

address permanently. Thus, she has not adequately rebutted the

indicia of permanence Plaintiff established.

      After being warned by the Circuit for filing briefs

“virtually devoid of citation to legal authority,” Gardner v.

Lefkowitz, 15-1139 No. 121, (2d Cir. Mar. 21, 2016), Defense

counsel now cites to only two cases in his current briefs with

regard to effective service, neither of which have any relevance

here. (See Def.’s Memo of Law at 13–14.) In Serrano v. N.Y.

State Dep’t of Envtl. Conservation, service was found to be

improper because a typo resulted in process servers attempting

service at an incorrect address altogether, among other mishaps

by the process serving company. See No. 8:12-CV-1592 (MAD/CFH),

2015 WL 757268, at *7 (N.D.N.Y. Feb. 23, 2015). We have no
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indication the process servicing company in the instant

litigation relied on a typo or else engaged in other misdeeds.

     Defense counsel also refers to the outlier case Sterling v.

Envtl. Control Bd. of City of N.Y., 793 F.2d 52 (2d Cir. 1986),

where the Second Circuit found part of a New York Sanitation

Code unconstitutional because it allowed for nail and mail

service of summonses for sanitation violations to absentee

landlords at the place of the violation, rather than their

registered business address. Id. at 58. Notwithstanding the fact

that the Second Circuit noted the “widespread abuse of the nail

and mail process” within the sanitation violation context, the

constitutionality of N.Y. C.P.L.R. § 308(4) and nail and mail

service is not being challenged here. Sterling’s constitutional

analysis is therefore not applicable.

     Defendant has not alleged “specific facts” sufficient to

rebut the statements in the process server’s affidavits such

that an evidentiary hearing would be required. Old Republic Ins.

Co. v. Pac. Fin. Servs. of Am., Inc., 301 F.3d 54, 57–58 (2d

Cir. 2002); see also Simonds v. Grobman, 716 N.Y.S.2d 692, 693

(2d Dep’t 2000) (holding no hearing is required where the

defendant fails to swear to specific facts to rebut the

statements in the process server’s affidavits). In her

Affidavit, Defendant does not dispute that she received mail at


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the 54th street address, or why or if she gave out that address

to Mr. Gardner over the course of his representation.6 She does

not dispute that the process server actually contacted the Post

Office who confirmed that address for her, nor does she dispute

that the server spoke with a neighbor of hers or explain why the

neighbor stated that she lived at that address. Rather, she

merely states in a conclusory fashion that “[p]rior to and in

2005, I did not reside at at [sic] 1542 54th Street, Brooklyn,

New York.” (Lefkowitz. Decl. ¶ 13.) Because Ms. Lefkowitz has

not alleged specific facts to rebut the statements in the

Plaintiff’s Affidavits, an evidentiary hearing is not required.7


6 All that Ms. Lefkowitz states is that she never received any
invoices from Mr. Gardner and has “no specific recollection of
seeing any such invoice prior to this proceeding, but even if I
have, I would have simply thrown it away . . . .” (Lefkowitz
Decl. ¶ 9.) Yet the Plaintiff’s Declarations do not purport to
establish that Ms. Lefkowitz necessarily received bills at that
address; they merely seek to establish that she represented to
Mr. Gardner that she was conducting business at that address.
Defendant has not adduced specific facts that rebut this
representation. See Jaffe & Asher, 158 F.R.D. at 280 (“Equally
as important, Van Brunt represented to J & A and others that 4
William Street was his residence. Not only did Van Brunt request
that J & A bill him at the 4 William Street address, he also
sent the firm letters prepared on stationery listing that
address or the number of the phone he maintains there.”).
7 Defense counsel also attempts to renew arguments on the
validity of the Golub Affidavit, Plaintiff’s most recent process
server affidavit. Defense counsel argues this Affidavit was not
filled out by the process server himself (though the original
Franco Affidavit was filled out by the process server himself).
Yet as explained in a previous Opinion of this Court, those
differences are minimal at best. See, e.g., Cablevision Sys.
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See Old Republic Ins. Co., 301 F.3d at 58 (holding defendant’s

affidavit did not refute specific facts in process server’s

affidavit and also did not dispute whether it was reasonable for

server to rely on directions of company security identifying

defendant as corporate officer at service address).

  B. Timeliness

     Federal Rule of Civil Procedure 60(c)(1) mandates that a

Motion for Reconsideration based on voidness must be brought

“within reasonable time.” Fed. R. Civ. P. 60(c)(1). A “judgment

obtained by way of defective service is void for lack of

personal jurisdiction . . . .” Orix Fin. Servs. v. Phipps, No.

91 Civ. 2523, 2009 WL 2486012, at *2 (S.D.N.Y. Aug. 14, 2009).

As for what constitutes a “reasonable time,” the Second Circuit

has noted that “courts have been exceedingly lenient in defining

the term ‘reasonable time,’ with respect to voidness challenges.

In fact, it has been oft-stated that, for all intents and

purposes, a motion to vacate a default judgment as void ‘may be

brought at any time.’” Cent. Vt. Pub. Serv. Corp. v. Herbert,

341 F.3d 186, 189 (2d Cir. 2003) (internal citation omitted).8



N.Y. City Corp. v. Okolo, 197 F. App’x 61, 62 (2d Cir. 2006)
(rejecting defendant’s claims that minor discrepancies in
server’s affidavit supported a finding that service was
defective, and rejecting claims for an evidentiary hearing).
8 The Court notes that Defense counsel does not make this

argument in its brief and merely refers incoherently to the due
diligence requirement of the N.Y. C.P.L.R. and also 28 U.S.C.
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     Therefore, even though Ms. Lefkowitz waited five years to

bring a challenge to the default judgment, her Rule 60(b) Motion

was still brought within a reasonable time for the purposes of

Rule 60.9


  C. McNulty Factors

     Finally, the Circuit instructed this Court to consider the

McNulty factors. “In deciding a motion to vacate a default

judgment, the district court is to be guided principally by

three factors: (1) whether the default was willful, (2) whether

the defendant demonstrates the existence of a meritorious

defense, and (3) whether, and to what extent, vacating the

default will cause the nondefaulting party prejudice.” S.E.C. v.

McNulty, 137 F.3d 732, 738 (2d Cir. 1998).


     1. Default Willful

     The Second Circuit has interpreted “‘willfulness,’ in the

context of a default, to refer to conduct that is more than

merely negligent or careless.”     McNulty, 137 F.3d at 738 (citing

Am. All. Ins. Co. v. Eagle Ins. Co., 92 F.3d 57, 61 (2d Cir.



§1655, which deals with real property liens and adverse
possession claims.
9 Because the Court finds prima facie that five years falls

within the meaning of a “reasonable time” of the Federal Rules,
the Court need not address Defendant’s arguments of whether
delivery to Tepfer and Tepfer constituted constructive notice of
the default Judgment.
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1996) (holding default due to filing mistake by defendant’s in-

house counsel’s clerk was not willful). A default may be found

“to have been willful where the conduct of counsel or the

litigant was egregious and was not satisfactorily explained.”

See McNulty, 137 F.3d at 738–39 (citing United States v. Cirami,

535 F.2d 736, 739 (2d Cir. 1976) (finding default was willful

where attorney failed, for unexplained reasons, to respond to a

summary judgment motion)).

     We have no indication that Ms. Lefkowitz willfully

defaulted by questionable conduct. Ms. Lefkowitz asserts she had

no knowledge of the default judgment against her. (Lefkowitz

Decl. ¶ 11.) Thus, the Court cannot find that default was

willful on the part of Defendant. Cf. Commercial Bank of Kuwait

v. Rafidain Bank, 15 F.3d 238, 244 (2d Cir. 1994) (finding

default willful where defendants “purposely evaded service for

months”).

     2. Meritorious defense

     “In order to make a sufficient showing of a meritorious

defense in connection with a motion to vacate a default

judgment, the defendant need not establish his defense

conclusively, but he must present evidence of facts that, if

proven at trial, would constitute a complete defense . . . .”

McNulty, 137 F.3d at 732 (internal citations and quotations

omitted).
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     A defaulting Defendant “could not present such a defense by

mere conclusory statements. . . . Although in an answer general

denials normally are enough to raise a meritorious defense, the

moving party on a motion to reopen a default must support its

general denials with some underlying facts.” Sony Corp. v. Elm

State Electronics, Inc., 800 F.2d 317, 320–21 (2d Cir. 1986)

(internal citation omitted).

     Defendant has failed to do so, providing only sworn (and

unsworn) conclusory denials. See id. at 321 (“The affidavits

that defendants filed were no more than sworn conclusory denials

and were properly held to be insufficient.”).

     Without supplying any relevant or credible evidence,

Defense counsel alleges that Ms. Lefkowitz never agreed to pay

for her brother’s legal fees. Defense counsel then details a

conspiracy wherein he claims that Mr. Gardner conspired with

Sholam Weiss secretly to transfer to Mr. Gardner funds from

hidden accounts to pay for Mr. Weiss’s defense. (Pl.’s Memo of

Law at 5–6.) Defense counsel claims that “[b]y hiding these

secret transfers, fraudulent conveyances and thefts – under the

guise that Surie Lefkowitz – not Weiss – paid him the money –

Gardner hoped to extort Weiss to arrange further wire transfers

to him, ala Tepfer & Tepfer. Hence, Gardner created the




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fraudulent story that Defendant Mrs. Lefkowitz promised to pay

Weiss legal fees.” (Id. at 6).

     In support of this, the evidence Defense counsel cites is a

2001 invoice from Monckton Chambers to a Samuel I Burstyn, whom

Defense counsel claims was involved in the secret transfer

scheme. (Ex. 4 to Pl.’s Mot. to Vacate Judgment). Yet the

invoice is exactly that—an invoice. It does nothing to support

Defense counsel’s theory.

     Nor do any of Defense counsel’s other arguments have any

merit. Defense counsel repeatedly notes that Mr. Gardner has not

provided the Court with a written retainer agreement between Ms.

Lefkowitz and him. (See, e.g., Pl.’s Memo of Law at 4.) Yet the

production of a retainer agreement was not required to file for

default judgment in 2005, nor is it required now when the burden

rests on Defendant, not Plaintiff, to present evidence of a

meritorious defense.    Defense counsel attempts to point to New

York General Obligations Law § 5-701, (Id. at 10), which states

that every agreement that “is a special promise to answer for

the debt, default or miscarriage of another person” is void

unless it is reduced to writing. N.Y. Gen. Oblig. Law § 5-701

(McKinney 2002). If it is Defense counsel’s contention that Ms.

Lefkowitz undertook the “debt” of her brother’s, then Defense

counsel should provide evidence to that effect. To the contrary,


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all that is before the Court are Defendant’s conclusory denials

and Plaintiff’s invoices and letters from Mr. Gardner to Ms.

Lefkowitz, which in reality evince an agreement between those

two individuals. In fact, Ms. Lefkowitz admits that she met with

Mr. Gardner in May 2002. (Decl. of Surie Lefkowitz in Support of

Mot. to Vacate Default Judgment, dkt. 68, ¶ 7.) Promising to pay

for the legal fees of one’s brother ex ante is not the same as

assuming prior debts ex post.

     Defense counsel also argues that Mr. Gardner fraudulently

billed Ms. Lefkowitz because several of his invoices to Ms.

Lefkowitz for Mr. Weiss’s extradition defense included work

performed after the actual extradition itself, which occurred on

June 9, 2002.   (Id. at 6.) Yet there are a number of plausible

explanations for the date of the invoices. First of all, it

makes sense that invoices are memorialized after actual work has

been completed. Second, Mr. Weiss’s appeals before the UN Human

Rights Committee were ongoing past the date of his actual

extradition. (See Ex. 5 to Def’s. Memo of Law (referring to

UNHCR appeal papers being due on December 23, 2002).)         And as

for Defense counsel’s arguments that Gardner did no work on the

UNHCR proceedings simply because another attorney’s name was

listed as the attorney of record on the final UNCHR Opinion,

they are unfounded. Gardner could have consulted and worked on

the UNHCR proceedings in a number of ways while not being listed
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on one document as the attorney of record. In fact, the December

17, 2002 letter from Monckton Chambers to Ms. Lefkowitz

specifically refers to coordination with the attorney of record

listed, Edward Fitzgerald. (December 2002 Demand Letter.)

      Defense counsel’s remaining arguments are equally baseless.

Defense counsel cannot now attempt to challenge venue in Motion

to Vacate Default Judgment. See Hoffman v. Blaski, 363 U.S. 335,

343 (1960) (“A defendant, properly served with process by a

court having subject matter jurisdiction, waives venue by

failing seasonably to assert it, or even simply by making

default.” (citing Commercial Cas. Ins. Co. v. Consol. Stone Co.,

278 U.S. 177, 179–80 (1929)); see also 10A Charles A. Wright,

Arthur R. Miller & Mary Kay Kane, Federal Practice and Procedure

§ 2695 (3d ed. 1998) (“[P]roper venue is not essential to a

valid judgment; therefore a venue defect will be waived by

failing to appear and suffering a default judgment.”).

      Nor can Defense counsel argue that this Court lacks subject

matter jurisdiction. (Pl.’s Memo of Law at 8.) Plaintiff’s

Complaint sought judgment against Defendant for $139,875.0010




10It is unclear to the Court how Defense counsel arrived at a
$31,495.00 figure that only takes into account legal work done
before Mr. Weiss was extradited. See supra (rejecting Defense
counsel’s arguments that Gardner’s invoices were fraudulent
because they included work performed after Mr. Weiss’s actual
extradition).
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worth of unpaid legal fees, (Compl. at 4), which is in excess of

the $75,000 diversity jurisdiction threshold.11

      Accordingly, Defense counsel has failed to “present

evidence of facts that, if proven at trial, would constitute a

complete defense.” McNulty, 137 F.3d at 732 (internal citations

and quotations omitted).

      3. Non-defaulting party prejudice

      Because this Court found supra that Defendant failed to

demonstrate a meritorious defense, it need not determine whether

vacating the default would cause Plaintiff prejudice. See State

St. Bank & Tr. Co. v. Inversiones Errazuriz Limitada, 374 F.3d

158, 174 (2d Cir. 2004) (“We need not evaluate whether the

vacatur of the default judgment would subject State Street Bank

to prejudice because we have concluded that the defendants

failed to establish a meritorious defense; the absence of such a

defense is sufficient to support the district court’s denial of

the defendants’ first Rule 60(b) motion.” (citing Commercial




11It is also unclear to the Court how Defense counsel can argue
that Mr. Gardner does not have “standing” to sue Ms. Lefkowitz
because his invoices to Ms. Lefkowitz were sent on Monckton
Chambers letterhead and from him individually. (See Pl.’s Objs.
To R. & R. of Magistrate Judge Francis at 2.) It is standard
practice to send invoices with one’s employer or chambers on the
letterhead. In addition, the invoices included Mr. Gardner’s
name and indicated it was for work performed by him.
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Bank of Kuwait v. Rafidain Bank, 15 F.3d 238, 244 (2d Cir.

1994)).

      Nevertheless, the Court finds that Mr. Gardner would be

prejudiced even if the Court considers this final McNulty

factor. First, the expense of litigating this matter for over

ten years may be enough to establish prejudice. See In re

Chalasani, 92 F.3d 1300, 1307 (2d Cir. 1996) (“Weighed also in

the decision not to reopen was the prejudice State Bank would

have suffered if the case were relitigated. The expense incurred

in obtaining a default judgment may support a finding that

reopening would prejudice a creditor.”).

      More importantly, Mr. Gardner docketed a judgment against

property owned by Ms. Lefkowitz in Kings County Supreme Court on

November 16, 2005 (and sought a renewal judgment on November 10,

2015). (Pl.’s Memo of Law at 20.) Not only is Mr. Gardner

currently litigating a state court action with Ms. Lefkowitz

over these judgments, but Mr. Gardner’s eleven-year lien

priority would be compromised if the default judgment in the

instant action is vacated. (Id.) Thus, Plaintiff has

demonstrated that vacating the default judgment would cause him

undue prejudice.12


12Defense Counsel makes no coherent argument as how vacating
default would not cause Mr. Gardner prejudice. Rather, Defense
Counsel merely reiterates his previous unfounded allegations
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  III. RULE 11 SANCTIONS

     Defendant has also moved to impose Rule 11 Sanctions on

Plaintiff Piers Gardner and to be awarded legal fees. (Def.’s

Notice of Mot. to Impose Rule 11 Sanctions on Pl., dkt. 69.) In

his Motion, Defense counsel attempts to re-litigate and re-argue

the various contentions he made in his Motion to Vacate Default

Judgment: that venue was improper in the SDNY, that diversity

jurisdiction does not exist, that Mr. Gardner should have never

charged Ms. Lefkowitz for services rendered after Mr. Weiss’s

date of extradition, that Gardner somehow did not represent Mr.

Weiss before the UNHCR because he was not listed as the attorney

of record, and so on. (Id.) Defense counsel has not made out an

adequate case for Rule 11 Sanctions and an award of attorney’s

fees. See Oliveri v. Thompson, 803 F.2d 1265, 1275 (2d Cir.

1986) (“As a final matter we note that in imposing rule 11

sanctions, the court is to avoid hindsight and resolve all

doubts in favor of the signer. As we stated in Eastway, rule 11

is violated only when it is ‘patently clear that a claim has




that Mr. Gardner overbilled Ms. Lefkowitz for his legal work,
and then proceeds to state that Mr. Gardner should have sued Ms.
Lefkowitz in England, or else Mr. Gardner should fly to the
United States and submit himself to a deposition because he has
a judgment against a United States citizen and the “round trip
air fare (sic) and hotel is negligible.” (Pl.’s Memo of Law at
23.) The Court is unaware of any legal authority supporting
Defense Counsel’s propositions.
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absolutely no chance of success.’” (citing Eastway Const. Corp.

v. City of N.Y., 762 F.2d 243, 254 (2d Cir. 1985)).



  IV.    CONCLUSION

     For the reasons stated herein, Defendant’s Motion to Vacate

Default Judgment and for Rule 11 Sanctions are DENIED. The Clerk

of Court is directed to close the docket in this case.

SO ORDERED.

Dated:     March 30, 2017
           New York, New York




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